Case 3:11-cr-01448-MMA   Document 1865       Filed 05/09/16   PageID.6752   Page 1 of
                                         5
Case 3:11-cr-01448-MMA   Document 1865       Filed 05/09/16   PageID.6753   Page 2 of
                                         5
Case 3:11-cr-01448-MMA   Document 1865       Filed 05/09/16   PageID.6754   Page 3 of
                                         5
Case 3:11-cr-01448-MMA   Document 1865       Filed 05/09/16   PageID.6755   Page 4 of
                                         5
Case 3:11-cr-01448-MMA   Document 1865       Filed 05/09/16   PageID.6756   Page 5 of
                                         5
